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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DTVISION


UNITED STATES OF AMERICA                  I
     Plaintiff,                           I
v.                                         I      No. 14 - CR 287-6
                                           I      The llonorable Charles Norgle
James Carroll                                 I    Judge Presldlng
     Defendant        ,                    I

                                           I



                                 I'NOPPOSED ORDER
THIS CAUSE COMING ON TO BE HEARD on defendant, James Carroll's unopposed
motion for the continuation of his sentencing hearing to September 20, 20 19, neither
the Government, nor Probation Department, having any objection, due notice having
been given and the Court having jurisdiction over the matter,
  IT IS HEREBY ORDERED that the defendant's motion for continuation of his
sentencing hearing be granted, setting the hearing for September 20th',2Ol9.




D^rED,            x   //7/Aot7                    ENTERED:


JEFFREY B. STEINBACK
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